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                                      MINUTES
                                                                   FILED IN THE
                                                          UNITED STATES DISTRICT COURT
                                                               DISTRICT OF HAWAII

                                                               03/13/2007 4:30 pm

                                                                SUE BEITIA, CLERK

 CASE NUMBER:             CIVIL NO. 04-00644DAE-LEK
 CASE NAME:               Joseph Thames vs. Deborah Y. Miller, et al.
 ATTYS FOR PLA:           Joseph Thames (Plaintiff Pro Se)
 ATTYS FOR DEFT:          Deborah Y. Miller (Defendant Pro Se)
 INTERPRETER:


       JUDGE:      Leslie E. Kobayashi            REPORTER:        Room C-335-No
                                                                   Record

       DATE:       03/13/2007                     TIME:            9:40-9:50


COURT ACTION: EP: Final Pretrial Conference held. Deborah Y. Miller participated
by phone.

Plaintiff Pro Se Joseph Thames objects to the holding of the Final Pretrial Conference.

Final Pretrial Conference held.

Trial Days: Plaintiff - (could not be determined), Defendant - (could not be determined).

Witnesses: Plaintiff - 5, Defendant - 1.

Exhibits: Plaintiff - 1 to 100, Defendant - 200-to 299.

Motions in Limine: Plaintiff - (could not be determined), Defendant - (could not be
determined).

Submitted by: Warren N. Nakamura, Courtroom Manager
